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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS



 MON ETHOS PRO CONSULTING LLC,

                 Plaintiff,                       Civ. A. No. 19-11234

         vs.

 RAYMONT EDMONDS,

                 Defendant


                               STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the plaintiff, Mon Ethos Pro Consulting, LLC,

dismisses this action with prejudice and without costs to any party.

                                     Respectfully submitted,

 MON ETHOS PRO CONSULTING, LLC                     RAYMONT EDMONDS

 By its attorney:                                  By his attorney:

 /s/ Joseph J. Balliro, Jr.                        /s/ Theodore J. Folkman

 Joseph J. Balliro, Jr. (BBO No. 550194)           Theodore J. Folkman (BBO No. 647642)
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Dated: June 15, 2020
